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  7                          UNITED STATES DISTRICT COURT
  8                       SOUTHERN DISTRICT OF CALIFORNIA
  9                                     Case No. 3:17-CV-00108-GPC-MDD
      IN RE:
 10
      QUALCOMM LITIGATION,              [Consolidated with 3:17-CV-01010-GPC-MDD]
 11
 12                                     ORDER TO DISMISS

 13                                     Judge:       Hon. Gonzalo P. Curiel
                                        Dept:        2D
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 16         On April 24, 2019, the parties filed a joint stipulation to dismiss this action
 17   with prejudice pursuant to Federal Rules of Civil Procedure 41(a)(1). Good cause
 18   appearing, the Court GRANTS the joint motion and DISMISSES WITH
 19   PREJUDICE this action in its entirety. Each party must bear its own attorneys’
 20   fees and costs. The Clerk of the Court is instructed to close the case.
 21      IT IS SO ORDERED.
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      Dated: April 25, 2019
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      Joint Stipulation and Order to Dismiss        1 Case No. 3:17-CV-00108-GPC-MDD
